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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO

                                          X
                                          :
  In re:
                                          :
  THE FINANCIAL OVERSIGHT AND             :                                    PROMESA
  MANAGEMENT BOARD FOR PUERTO RICO,       :                                    Title III
                                          :
                   as representative of   :                                    Case No. 17-BK-3283 (LTS)
                                          :
  THE COMMONWEALTH OF PUERTO RICO et al., :                                    (Jointly Administered)
                                          :
         Debtors.1                        :
                                          X

      DRA PARTIES’ UNOPPOSED URGENT MOTION FOR LEAVE TO EXCEED PAGE
          LIMIT WITH RESPECT TO OPENING BRIEF IN CLAIMS OBJECTION
                                LITIGATION

  To the Honorable United States District Judge Laura Taylor Swain:

           AmeriNational Community Services, LLC (hereafter the “Servicer”), as servicer for the

  GDB Debt Recovery Authority (the “DRA”), and Cantor-Katz Collateral Monitor LLC, a

  Delaware limited liability company which serves as the collateral monitor for Wilmington Trust,

  N.A. in connection with the new bonds issued by the DRA pursuant to the Government

  Development Bank for Puerto Rico Debt Restructuring Act, Act No. 109-2017, as amended by

  Act No. 147-2018 and the approved Qualifying Modification for the Government Development


  1
   The Debtors in these title III cases, along with each Debtor’s respective title III case number listed as a bankruptcy
  case number due to software limitations and the last four (4) digits of each Debtor’s federal tax identification number,
  as applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283
  (LTS)) (Last Four Digits of Federal Tax ID: 3481), (ii) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four Digits of Federal Tax
  ID: 9686), (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567
  (LTS)) (Last Four Digits of Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
  (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID: 8474); (v) Puerto Rico Electric Power
  Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto
  Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of Federal Tax
  ID: 3801).



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  Bank for Puerto Rico2 under Title VI of the Puerto Rico Oversight, Management and Economic

  Stability Act (the “Collateral Monitor” and with the Servicer, the “DRA Parties”), by and through

  the undersigned legal counsel, hereby file this unopposed urgent motion (the “Urgent Motion”)

  requesting entry of an order, substantially in the form attached hereto as Exhibit A, allowing the

  DRA Parties in their capacity as an interested party in the litigation of the Claims Objections to

  file an opening brief in excess of the seven-page limit set forth in the Interim Case Management

  Order [Dkt. No. 9619] (the “Interim Order”). In support of this Urgent Motion, the DRA Parties

  respectfully state as follows.

                                        JURISDICTION AND VENUE

             1.      The United States District Court for the District of Puerto Rico has subject matter

  jurisdiction over this matter pursuant to Section 306(a) of PROMESA. Venue is proper pursuant

  to Section 307(a) of PROMESA.

                                     BASIS FOR RELIEF REQUESTED

             2.      On May 25, 2018, the Government Development Bank for Puerto Rico (the

  “GDB”) filed Proof of Claim Number 29485 (the “GDB Proof of Claim”) against the

  Commonwealth based on (a) certain notes issued by the Commonwealth to GDB (the “GDB

  Notes”) and (b) the Commonwealth’s full faith and credit guaranty of a certain bond issued by

  the Port of Americas Authority (the “PAA Guaranty”). As of November 7, 2018, no less than

  $169.4 million in principal is due under the GDB Notes and $225.5 million in principal is due

  under the PAA Guaranty. See Offering Memorandum for GDB Debt Recovery Authority Bonds

  (Taxable), dated Nov. 7, 2018 at 17. The portion of the GDB Proof of Claim relating to the

  GDB Notes and the PAA bond was transferred to the DRA following the effective date of the


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      See Dkt. No. 270 of Civil Case No. 18-01561 (LTS).


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  GDB’s Qualifying Modification under Title VI of the Puerto Rico Oversight, Management, and

  Economic Stability Act. See Joint Motion to Clarify Transfer of Claim [Dkt. No. 5628].

           3.      On December 19, 2019, this Court entered the Interim Order. Pursuant to

  paragraph 1 of the Interim Order, the deadline for filing omnibus objections disputing the

  validity of claims related to general obligation bonds issued by the Commonwealth, bonds

  guaranteed by the Commonwealth, or bonds issued by the PBA was January 8, 2020. See

  Interim Order ¶ 1.

           4.      On January 8, 2020, the UCC filed the Official Committee of Unsecured

  Creditors’ Omnibus Objection on Constitutional Debt Limit Grounds to (I) Claim of Government

  Development Bank for Puerto Rico [Claim Number 29485] Based on Certain Commonwealth-

  Issued Notes and on Commonwealth Guaranty of Certain Bond Issued by Port of Americas

  Authority, (II) Claim of Scotiabank de Puerto Rico [Claim Number 47658] Based on Full Faith

  and Credit Note Issued by Puerto Rico General Services Administration, and (III) Claims Filed

  or Asserted Against Commonwealth Based on Commonwealth Guaranty of Certain Notes Issued

  by Puerto Rico Infrastructure Authority [Dkt. No. 9735] (the “UCC Objection”).

           5.      The UCC seeks to disallow the portion of the GDB Proof of Claim based on the

  GDB Notes and PAA Guaranty because it asserts that the GDB Notes and PAA Guaranty were

  issued in violation of Article VI, Section 2 of the Puerto Rico Constitution, which (i) limits the

  amount that the Commonwealth may borrow on the basis of the amount of debt service it would

  have to pay relative to its historical revenues (the “Debt Service Limit”) and (ii) prohibits the

  Commonwealth from guaranteeing any bonds or notes if the Debt Service Limit has been

  exceeded. See UCC Objection ¶¶ 25–28.




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            6.      Also, on January 8, 2020, the Lawful Constitutional Debt Coalition filed the

  Omnibus Objection of the Lawful Constitutional Debt Coalition, Pursuant to Bankruptcy Code

  Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain Bonds

  Issued or Guaranteed by the Commonwealth [Dkt. No. 9730] (the “LCDC Objection”), similarly

  asserting that the Commonwealth lacked constitutional authority to issue the PAA Guaranty. See

  LCDC Objection ¶ 50.

            7.      Pursuant to the Interim Order, the Court directed certain defendants, respondents,

  and parties in interest (the “Identified Parties”) to file opening briefs in response to the Claim

  Objections by February 5, 2020. See Interim Order ¶ 1. It further directed all other bondholders

  or interested parties who opt to voluntarily participate in the proceedings to file opening briefs in

  response to the Claim Objections by February 19, 2020 at 5:00 p.m. (Atlantic Standard Time).

  See id.

            8.      The DRA Parties are not defined as Identified Parties under the Interim Order,

  notwithstanding the fact that the DRA holds significant general obligation debt, the UCC

  Objection singles out the GDB Proof of Claim, and the LCDC Objection challenges the validity

  of the PAA Guaranty.

            9.      Pursuant to paragraph 6 of the Interim Order, all bondholders and interested

  parties who are not Identified Parties or Certain Interested Defendants3 must certify that they

  have reviewed all briefs submitted by the Identified Parties and may file additional briefs “only if

  they raise issues unique or specialized to that party, or such additional brief otherwise raises an

  argument or issue not addressed in the briefs filed by the Identified Parties[.]” Interim Order ¶ 6.



  3
   This term refers to the defendants listed in Exhibit B to the Superseding Status Report of the Debtors and Alternative
  Proposed Case Management Orders of Debtors and Certain Defendants in Connection with Adversary Proceedings
  Numbers 19-291, 19-292, 19-293, 19-294, 19-295, 19-296, and 19-297 [Dkt. No. 8083].

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  Additionally, absent further order of the Court, such additional briefs must be limited to seven

  pages. See id.

           10.     The DRA Parties hereby certify that they have reviewed all briefs submitted by

  the Identified Parties and Certain Interested Defendants. They respectfully request that they be

  allowed to exceed the seven-page limit set forth in paragraph 6 of the Interim Order and to file a

  brief of no more than 20 pages, exclusive of the cover page, tables of contents and authorities,

  signature page, exhibits, and the certificate of service.

           11.     This seven-page limit does not apply to Identified Parties under the Interim Order.

  While the Interim Order does not define the DRA Parties as Identified Parties, the Court entered

  the Interim Order before the UCC and LCDC filed their objections – each of which singles out

  the DRA’s claims.

           12.     The DRA Parties respectfully submit that, to adequately respond to the UCC

  Objection and LCDC Objection, they will require an extension to the seven-page limit set forth

  under paragraph 6 of the Interim Order. The DRA Parties have unique or specialized issues to

  address in relation to the GDB Proof of Claim and PAA Guaranty that have not, and indeed

  could not, be addressed by any other party. Limiting the DRA Parties’ response to seven pages

  would prejudice their ability to thoroughly present such arguments.

           13.     The DRA Parties have conferred with counsel to the UCC and LCDC, who have

  indicated that the UCC and LCDC do not oppose the relief sought in this Urgent Motion.

           14.     Accordingly, the DRA Parties respectfully request authorization to file an opening

  brief of no more than 20 pages, exclusive of the cover page, tables of contents and authorities,

  signature page, exhibits, and certificate of service. The DRA Parties submit that this request is

  reasonable and appropriate in light of the circumstances described above.


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                                                NOTICE

           15.     Notice of this Urgent Motion has been provided to the following entities, or their

  counsel, if known: (i) the U.S. Trustee; (ii) the Office of the U.S. Attorney for the District of

  Puerto Rico; (iii) AAFAF; (iv) FOMB; (v) the UCC; (vi) the LCDC; (vii) the Official Committee

  of Retired Employees of the Commonwealth of Puerto Rico; (viii) the insurers of the bonds

  issued or guaranteed by the Debtors; (ix) certain ad hoc groups of holders of bonds issued or

  guaranteed by the Debtors; and (x) all parties that have filed a notice of appearance in the above-

  captioned Title III cases.

                                          CERTIFICATION

           16.     In accordance with Section I.H. of the Case Management Procedures [Dkt. No.

  8027], the undersigned counsel certify that they have engaged in reasonable, good-faith

  communications with counsel for the UCC and the LCDC, and counsel for the UCC and the

  LCDC do not oppose the relief requested in this Urgent Motion. As required by Local

  Bankruptcy Rule 9013-1(a)(2), the undersigned counsel certify that counsel has carefully

  examined the matter and concluded that there is a true need for expedited consideration of the

  Urgent Motion, and that the undersigned counsel have not created the urgency through lack of

  due diligence on their part.

                                        NO PRIOR REQUEST

           17.     No prior request for the relief requested herein has been made by the DRA Parties

  to this or to any other court.

           WHEREFORE, the DRA Parties respectfully request that this Court enter an order

  substantially in the form attached hereto as Exhibit A granting the relief requested herein and

  granting such other relief as this Court deems just and proper.


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  RESPECTFULLY SUBMITTED.

  In San Juan, Puerto Rico, today February 10, 2020.

    MCCONNELL VALDÉS LLC                             C. CONDE & ASSOC. LAW OFFICES

    270 Muñoz Rivera Avenue, Suite 7                 By: /s/ Carmen D. Conde Torres
    Hato Rey, Puerto Rico 00918
    PO Box 364225                                    Carmen D. Conde Torres
    San Juan, Puerto Rico 00936-4225                 (USDC No. 207312)
    Telephone: 787-250-5632                          254 San José Street
    Facsimile: 787-759-9225                          Suite 5
                                                     San Juan, PR 00901-1523
    By: /s/Arturo J. García-Solá                     Tel. 787-729-2900
    Arturo J. García-Solá                            Fax. 787-729-2203
    USDC No. 201903                                  E-Mail: condecarmen@condelaw.com
    Email: ajg@mcvpr.com
                                                     -and-
    By: /s/Nayuan Zouairabani
    Nayuan Zouairabani                               ORRICK, HERRINGTON &
    USDC No. 226411                                  SUTCLIFFE LLP
    Email: nzt@mcvpr.com
                                               By: /s/ Douglas S. Mintz
    Attorneys for AmeriNational Community Douglas S. Mintz (admitted pro hac vice)
    Services, LLC as servicer for the GDB Debt Columbia Center
    Recovery Authority                         1152 15th Street, N.W.
                                               Washington, D.C. 20005-1706
                                               Telephone: (202) 339-8400
                                               Facsimile: (202) 339-8500
                                               E-mail: dmintz@orrick.com

                                                     and

                                                     Laura Metzger (pro hac vice pending)
                                                     Peter Amend (admitted pro hac vice)
                                                     Monica Perrigino (admitted pro hac vice)
                                                     51 West 52nd Street
                                                     New York, N.Y. 10019
                                                     Telephone: (212) 506-5000
                                                     E-mail:    lmetzger@orrick.com
                                                                pamend@orrick.com
                                                                mperrigino@orrick.com

                                                     Attorneys for Cantor-Katz Collateral Monitor
                                                     LLC, as Collateral Monitor for GDB Debt
                                                     Recovery Authority

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                                    Exhibit A

                                 Proposed Order
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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO

                                          X
                                          :
  In re:
                                          :
  THE FINANCIAL OVERSIGHT AND             :                                    PROMESA
  MANAGEMENT BOARD FOR PUERTO RICO,       :                                    Title III
                                          :
                   as representative of   :                                    Case No. 17-BK-3283 (LTS)
                                          :
  THE COMMONWEALTH OF PUERTO RICO et al., :                                    (Jointly Administered)
                                          :
         Debtors.1                        :
                                          X

       [PROPOSED] ORDER ON DRA PARTIES’ UNOPPOSED URGENT MOTION FOR
         LEAVE TO EXCEED PAGE LIMIT WITH RESPECT TO OPENING BRIEF IN
                        CLAIMS OBJECTION LITIGATION

             Upon consideration of the DRA Parties’ Unopposed Urgent Motion for Leave to Exceed

  Page Limit with Respect to Opening Brief in Claims Objection Litigation (the “Urgent

  Motion”),2 seeking leave allowing the DRA Parties, in their capacity as an interested party in the

  litigation of the Claims Objections, to file an opening brief in excess of the seven-page limit set

  forth in the Interim Order, the Court hereby FINDS AND DETERMINES that (i) the Court has

  jurisdiction to consider the Urgent Motion and the relief requested therein pursuant to Section



  1
   The Debtors in these title III cases, along with each Debtor’s respective title III case number listed as a bankruptcy
  case number due to software limitations and the last four (4) digits of each Debtor’s federal tax identification number,
  as applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283
  (LTS)) (Last Four Digits of Federal Tax ID: 3481), (ii) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four Digits of Federal Tax
  ID: 9686), (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567
  (LTS)) (Last Four Digits of Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
  (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID: 8474); (v) Puerto Rico Electric Power
  Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto
  Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of Federal Tax
  ID: 3801).

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      Capitalized terms not defined herein shall have the meanings ascribed to them in the Urgent Motion.
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  306(a) of PROMESA; (ii) venue is proper before this Court pursuant to Section 307(a) of

  PROMESA; (iii) the relief requested in the Urgent Motion is proper and in the best interest of the

  Title III debtors, their creditors, and other parties in interest; and (iv) due and proper notice of

  this Urgent Motion has been provided under the particular circumstances and no other or further

  notice need be provided. Accordingly, it is hereby ORDERED THAT:

          1.      The Urgent Motion is GRANTED as set forth herein.

          2.      The DRA Parties may exceed the seven-page limit set forth in the Interim Order

  by filing an opening brief of no more than 20 pages, exclusive of the cover page, tables of

  contents and authorities, signature page, exhibits, and the certificate of service.

          3.      The DRA Parties shall not be prejudiced from seeking further relief of the page

  limit set forth in the Interim Order should the DRA Parties determine the need to request

  additional relief.

          4.      The Court shall retain jurisdiction to hear and determine all matters arising from

  the implementation and interpretation of this Order.


  SO ORDERED

  Dated: February ___, 2020
         San Juan, Puerto Rico

                                                  ____________________________________
                                                  HONORABLE LAURA TAYLOR SWAIN
                                                  United States District Judge




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